IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
MISSOURI

RHONDA BURNETT, JERROD BREIT,
HOLLEE ELLIS, FRANCES HARVEY,
AND JEREMY KEEL, on behalf of
themselves and all others similarly situated

Plaintiffs,

THE NATIONAL ASSOCIATION OF

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Vv. ) Case No. 19-CV-00332-SRB
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REALTORS, et al. )

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Defendants.

ENTRY OF APPEARANCE

Michael D. Pospisil hereby enters his appearance as counsel on behalf of the
Opt-In Settling Defendants/Intervenors Brown Harris Stevens. Brown Harris
Stevens includes all predecessor brokerages and affiliated brokerages entities and
every brokerage owned by the parent entity Terra Holdings, LLC as described in

Paragraph A.2 of the applicable Settlement Agreement!

' Brown Harris Stevens Brooklyn, LLC, Brown Harris Stevens Residential Sales, LLC, Brown Harris
Stevens Queens, LLC, Brown Harris Stevens Forest Hills, LLC, Brown Harris Stevens Riverdale, LLC,
Brown Harris Stevens Development Marketing, LLC Brown Harris Stevens Marketing and Sales, LLC.
Brown Harris Stevens Hudson Valley, LLC. Brown Harris Stevens of the Hamptons, LLC, Brown Harris
Stevens Westhampton, LLC, Brown Harris Stevens New Jersey, LLC, Brown Harris Stevens of Palm
Beach, Brown Harris Stevens. Miami, LLC, Brown Harris Stevens Connecticut, LLC, Halstead Brooklyn,
LLC, Halstead East Hampton, LLC, Halstead Forest Hills, LLC, Halstead Hamptons, LLC, Halstead
Property Development. Marketing, LLC, Halstead Hudson Valley, LLC, Halstead Queens, LLC, Halstead
Connecticut, LLC, Halstead Property, LLC and Halstead Manhattan, LLC, Halstead New Jersey, LLC,
Halstead New Jersey Development Marketing, LLC.

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Respectfully submitted,
POSPISIL SWIFT LLC

/s/ Michael D. Pospisil

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ATTORNEYS FOR BROWN HARRIS
OPT-IN SETTLEMENT PARTIES

CERTIFICATE OF SERVICE

The Defendants undersigned hereby certifies that the above pleading was served on all
counsel of record via electronic filing on November@, 2024.

/s/ Michael D. Pospisil
Attorney

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